STATE OF KENTUCKY
COUNTY OF HARDIN

AFFIDAVIT

My name is RaeMonica Carney Cloyd and I do solemnly swear the following is true and correct,
to the best of my knowledge, information, and belief:

1. Lam a 42 year old female of African-American descent. I hereby confirm that all facts
alleged in my Complaint (Doc. 1) filed in this case (1:14-cv-00392-WKW-WC) are true and
correct to the best of my knowledge, information, and belief (see attached).

2. I worked for the Dothan Police Department on two separate occasions, one from June 1999 to
February 2004, and after leaving for about a year, I returned in May 2005 as a police officer.

3. Overall I worked for the Dothan Police Department for fourteen years, with good
performance, assuming additional responsibilities such as School Resource Officer, Community
Watch Coordinator, Crime Stoppers Coordinator, and Recruiting Team Member, in addition to
regular officer duties.

4. Notwithstanding, I did experience unlawful employment discrimination, based on race, sex,
and retaliation, which caused me to file several EEOC charges. The first was on September 28,
2006; the second on August 3, 2009, and the third on April 19, 2013. Although the first two
EEOC charges may be outside the time limits for the current litigation I am involved in, the
underlying disparate treatment complained about in earlier years continued unresolved and thus
helped form the foundation of the discrimination complaint. | filed my third charge on April 19,
2013, which was amended in December 16, 2013. I therefore dispute the contention in paragraph
19 (page 8) of Defendant’s brief that allegations from my earlier EEOC charges are not part of
this suit, as they nonetheless reflect on a continuing pattern and practice of race discrimination in
the Dothan Police Department. Further, if these allegations are not relevant, then why does the
Defendant’s brief go to such great length to discuss my prior history with the Dothan Police
Department?

5. Further, I believe the termination of my employment by the Dothan Police Department, which
I experienced on December 16, 2013, was simply the ultimate outgrowth of the same facts about
which I was complaining in my April 2013 EEOC charge. My termination was predicated on the
violation of my First Amendment right to freedom of speech then aggravated by the Defendant’s
violation of my rights to privacy on my personal property for which they violated the law, then
used the off-duty personal disagreement with my fiancé as the final charge to uphold terminating
my employment. Neither of the charges has merit and therefore my termination was unlawful.

5(a). To my great chagrin, the Dothan Police Department removed my access to certain
computer applications whereby I received community tips that assisted me in solving crimes.
Compounding my dismay, the computer applications were part of the Crime Stoppers Program,
which program I largely implemented.

5(b). On the other hand, my white co-workers were given access to the computer
applications, and were thus able to take credit for solving crimes.

5(c). Likewise, the Dothan Police Department treated me very unfairly in its
employment-related exams, when compared to white employees. Although I consistently scored
above average on the exams, the City of Dothan incorrectly scored me on several occasions,
resulting in lower scores than | actually earned. | especially remember one occasion when |
challenged a clearly erroneous scoring, and demonstrated that my answer was correct according
to the department’s training manual. Yet, unfortunately, my white superior officer refused to
review the error, or correct the score.

5(d). I also faced discrimination in a required firearms test. The Dothan Police
Department failed to score several of the shots I fired within the target zone, resulting in a
reduced score. I pointed out the incorrectly-counted shots to my white superior officer, who
gave me credit for some, but not all, of my accurately fired shots. The test was a factor used to
evaluate performance and determine future promotions, and so this failure to give me credit
impacted adversely on my prospects in both matters. I never heard about any white officers or
prospects being scored inaccurately. If that had happened, I’m sure I would have heard about it.

6. That is why, on December 16, 2013, I amended my afore-referenced earlier April 2013 charge
to add retaliation by the City of Dothan in firing me on December 16, 2013. Indeed, the
amendment is referred to in paragraph 71 of the lawsuit complaint filed with this court on May
23, 2013. | am therefore perplexed and baffled to read on page 81 of Defendant’s Summary
Judgement brief and in the McKay Declaration, exhibit 31, that the City of Dothan and its
attorney never received my Amended charge.

7. Typically, but to my great chagrin and dismay, the City of Dothan’s Summary Judgment brief
(hereinafter “Defendant’s brief”) has issued so many misstatements of fact that | am compelled
to supplement my deposition by issuing this affidavit.

8(a). To begin with, the Defendant’s brief states at the top of page 6:

“Plaintiff admits that officers’ ranks do not change based on assignments given
and that it is rank and years of service that determine an officer’s pay”, allegedly
quoting me at my deposition. (Carney Depo,164: 14:465:5)

8(b). Yet a review of these pages shows that Ms. Mays’ question was 11 lines long, and actually
included four questions. Thus, it was, and is, very unclear what question I was answering. Ms.
Mays was in error to cite my answer at all. (Of course, I had no attorney present to represent me
at the deposition, or to object to the form of the question).

8(c). This colloquy ignores the truth that, while a preferential assignment does not change one’s
rank within a department, a preferential assignment nonetheless helps build up an officer for
promotion, and that leads to an increase in rank and pay.

9. Contrary to what is attributed to me in number 5 on page 6 of Defendant’s brief, I know there
were many police officers who received additional compensation for services in assignments
with increased responsibilities. One such was a white female police officer, Reyna Johnson. Yet |
never received increased pay for any of my additional responsibilities.

10. To explain point 6 on page 6 of Defendant’s brief, for a long time there were no African-
Americans in either the criminal investigation division or the hostage negotiations team. One so
appointed, namely black female Sylvia Summers, was terminated after appointment, and filed an
EEOC charge.

11. Lagree with point 8 of page 6 of the Defendant’s brief that a police officer should inspire
confidence and respect for her position and maintain a good reputation in the community. This I
am confident I did. See the photograph and letter addressed to me and signed by students in one
Girl Scout Troup that I arranged and escorted through the police department, attached as exhibit
B and C. This is echoed by paragraph 23 of Defendant’s brief wherein it is noted that Chief
Benton saw that I was well-suited to have the community watch coordinator position and that I
had a good relationship with the police.

12. I wish to add to point 10 on page 7 of Defendant’s brief, where it states, “Even when
Plaintiff was not actively engaged in police work she was still a police officer.” I treasured my
privacy, and believe my constitutional rights of freedom of speech existed when I was off duty. I
also cherished my right to have personal disagreements with my fiancé, when off duty, so long as
no laws were broken. The Defendant City of Dothan is deliberately misleading the court by not
providing Defendant’s very own police incident report taken to document the domestic incident,
which clearly identified me as the victim of domestic violence committed by my fiancé. In
addition, no arrest was made by any of the police officers or supervisors, identified in paragraph
140 (page 33) of Defendant’s brief, even with my fiancé’s admission to placing his hands on me
and forcefully trying to remove me from my patrol car. This was clearly a violation of the
Domestic Violence Act of the Code of Alabama. The Defendant also chose to take no action
against my fiancé, upon his admission to backing his vehicle towards my patrol car, while I was
attempting to reposition my patrol car on the driveway, just after I had just parked my personal
car in my garage.

13. Adding to point 12 on page 6 of Defendant’s brief, I recognize the significance of following
orders of higher ranking officers. However, when those orders are not consistent with policy or
law, I have a right, even a duty, to disobey unlawful commands.

14. Adding to point 14 on page 7 of Defendant’s brief, I recognize that the City of Dothan, on
paper, is supposed to be an equal opportunity employer. However, the City of Dothan was found
not to be that in the 1976 Consent Decree. Thereafter, Dothan is still subject to that Consent
Decree, which I believe was clearly violated in my case, for reasons set forth in my complaint,
deposition, and this brief.
15. [am also aware that, in a deposition in the case of a former Dothan Police Captain, namely
Ivan Keith Gray, City of Dothan EEO Officer Darryl Matthews said he never followed the
aforesaid Consent Decree and said it was unsubstantiated. Captain Gray also made assertions
that the Defendant violated the Consent Decree in discriminatory acts against him during his
twenty-eight year tenure. Moreover, Captain Gray’s claim was addressed in the opinion and
order issued by District Judge Myron Thompson, for which I respectfully ask this court to refer
to. (Doc. 68, Case 14-cv-00592).

16. Adding to point 15 on page 8 of Defendant’s brief, the Defendant fails to advise the court
that it denied me the right to use that period of employment in identifying my total number of
years as displayed on my name badge, and limited that time in service to reflect my second term
of service that beginning in 2005.

17, I dispute paragraph 16 on page 8 of Defendant’s brief, and assert that the Defendant is
deliberately misstating known facts about the terms of my work assignments in both the
narcotics division and patrol divisions.

18. Adding to point 19 on page 8 of Defendant’s brief, the Defendant’s continued references to
previous EEOC filings I made in addition to their repeated interrogatories outside of the scope of
the six month window allotted under an EEOC complaint, opened the door to include my entire
employment history. This was in addition to making relevant my previous motion to amending
my complaint, to allow 42 U.S.C. 1981 and 42 U.S.C. 1981(a) as a basis for race and gender
discrimination.

18(a). I also insist that I provided my previous attorney a copy of my Amended EEOC
Charge dated December 17, 2015, a copy of which is attached here to as Exhibit 5 of Plaintiff’s
Brief. As can be seen, I signed said EEOC charge under oath on December 17, 2013, and thus,
had every reason to believe that said charge was filed with the EEOC by then attorney Sonya
Edwards. Most of said affidavit and charge was a repeat of the previous allegations. The
amended charge simply added the fact that my employment was terminated on December 16,
2013, based on unfounded allegations of gross insubordination. I added that the department’s
actions constituted further discrimination and harassment based on my race and sex and are in
violation of retaliatory provisions of Title VII.

19. I dispute paragraph 26 on page 10 of the Defendant’s brief and assert that I was assigned as
the Crime Stoppers Coordinator. Major Steve Parrish re-assigned my role from coordinator to
liaison upon complaint from a white male, namely Lt. Will Benny, the same officer from whom
the position was taken from. Paragraphs 27, 28, and 29 on page 10 further prove my point of
being the coordinator, rather than the liaison. Otherwise, there would be no need to make the
change detailed in an email between Benny, Parrish, and myself. With the re-assignment to Duty
Desk Officer, the position was a demotion, and least favored position, one often assigned to
punish officers and limit their abilities to advancement. In fact, EEO Officer Darryl Mathews,
according to Captain Gray’s deposition, admitted that he, too, disagreed with placing me in the
Duty Desk Officer position, because it was unfair punishment.
20. Furthermore, I dispute paragraph 29, and assert it was Major Steve Parrish, not Chief Benton,
who authorized my removal in November 2012 from having access to the Tip-Soft Software
within the crime stoppers program. My access was then given to a white male, namely Lt. Will
Benny. In doing so, the Dothan Police Department, took away my ability to manage the program
and provide a report to the Chief of Police, the Sheriff, the District Attorney, and the Chamber of
Commerce Chairman.

21. Contrary to paragraphs 32-34 (page 11) of Defendant’s brief, I still believe the removal of the
Community Services Division in February 2013, was largely directed at me, because local white
Dothan police officers didn’t like visible pictures in my office of President Obama. I had gone to
the second Inauguration of Obama in January 2014, and the memorabilia I brought back was
offensive to my surrounding white officers and administrative staff, who frequently talked down
President Obama, as they did Whitney Houston, whom they referred to as a “crack-head”.

22. The effect of my removal from the Community Services Division was to deprive me of a
telephone, a desk top computer, a xerox machine, a secretary, and/or access to other Dothan
police officers. On the other hand, Lt. Baxley had multiple offices, one being located at the
Dothan City School Board, and another located in Juvenile Investigations, where he had good
access to the resources. My being so deprived made it difficult for me to do my work. It also
hampered my engagement with my direct supervisor Captain David Jay, unlike Lt. Baxley. Lt.
Baxley was later added into my chain of command, after removing me from Criminal
Investigations.

23. I still insist, contrary to the Defendant’s brief’s allegations in paragraphs 35-39 (pages 11-
12), that, in my total score, there were rounds not counted, even after a recount. The effect was to
lower my score for promotional purposes, in contrast to my white fellow officers who were not
sent off to a more remote location. In addition, the Defendant failed to mention that I refused to
test for SWAT because the testing requirements were deliberately designed to disqualify female
applicants by the training department members, one of whom was white male Carlton “Bubba”
Ott, seen pictured holding the symbolic and often referred to Confederate Battle Flag, with its
long-standing history of racism (See Def’s Exh. A, dep. exh. 32).

24. With respect to the Sergeant’s exam ( discussed in paragraphs 40-45, pages 12-13 of
Defendant’s brief) I should have finished 1st, or near Ist out of the 12 officers so tested, rather
than 8th, had I not been the only one subjected to the improper set-up of the flip chart during the
assessment. Of course, my white male counter-parts were not subjected to this improper set-up. [|
was the only female taking the test. I believe the improper set-up was done deliberately to trip
me up. My complaint to Personnel Analyst and exam overseer, a white female, namely Nichole
O’Malley Gibson, prompted no investigation by the Personnel Director Delvick McKay, EEO
Officer Daryl Mathews, or Police Chief Greg Benton upon my complaint, contrary to what the
Defendant indicated in paragraph 45 (page 13). The Defendant’s failure to initiate an
investigation into my complaint to Nichole Gibson further reflects their intent to violate the
Consent Decree and continue repeated racial and gender discrimination acts towards me.
25. I strongly believe the controversy that later arose with respect to my Facebook posting on a
matter of public concern, namely the Christopher Dorner case, was blown way out of proportion
from reality. It was embellished, and spread around the Dothan Police Department, as a way to
keep me from being promoted to Sergeant. The EEO Officer Darryl Mathews, during his
investigation refused to identify those officers he claimed had filed complaints against me. In
fact, Mr. Matthews changed the number of complainants during the investigation, at the
personnel board hearing, and again in reports to the media and Defendant’s opposing brief.

26. My Facebook postings on the Dorner matter, as with all other Facebook postings, were
intended to be limited to my friends. Yet, I also felt that, had my postings been construed as |
meant them to be, then a beneficial effect for law enforcement generally would have been
achieved. That is, police departments, including the one in Dothan, would have taken positive
steps to make certain that the ultimate fiasco of Dorner would have never happened at any other
police department, including Dothan’s.

27. Although I believed that Christopher Dorner had raised certain underlying issues of
constitutional rights and abuse by the police, I never once said that those issues justified his
alleged killings. In fact, they absolutely did not justify any killings, and I was abhorred that any
policeman may have killed anyone else, except in self-defense, or in lawful defense of another.

28. One of the prime movers in the Facebook complaint about me was Major Steven Parrish, a
white male, and an admitted member of the Sons of Confederate Veterans (SCV) an organization
with known ties to the Ku Klux Klan. He was also Commander of the Henry Light Infantry
Camp #1968 of the SCV. He was trying to create conflict among other officers and myself. He
tried to create some sort of legal standing pertaining to the department rules and regulations as a
way to justify removing me from the positions I held. He tried to prevent me from being
promoted to Sergeant. He asserted his position within the racist organization to act out his racist
viewpoints. Another prime mover in the Facebook complaint about me, namely Lt. William
Benny, a white male, kept trying to get back at me because of an “excessive force” complaint
that I filed against one of his officers.

29. I dispute paragraph 47 (page 14) of Defendant’s brief, and again respectfully inform the
court of the Defendant’s misstatement of fact. The Defendant’s misstatement to me not receiving
an assignment from only one requested assignment via a PD 12 is totally negated by Defendant’s
own acknowledgment of my assignment to School Resource Officer, which was initiated via a
PD12.The same misstatement of fact is applied to paragraph 49 (page 14) of Defendant’s brief,
in that training opportunities were not made readily available to blacks, as opposed to white
officers.

30. In paragraphs 51-53 of the Defendant’s brief, the Defendant fails to include the laws of the
State of Alabama, those for whom several of the white employees violated, including the Police
Chief, a white male, namely Greg Benton, who admitted in Captain Gray’s deposition to
committing adultery while married. He was the standing Police Chief, and according to
Defendant’s brief, the sole authority in my termination of employment. Other crimes included
theft of police evidence, driving under the influence, and tampering with evidence to name a few.
31. Furthermore, as noted in paragraphs 55-56 (pages 15-16) of Defendant’s brief, those acts in
the afore-mentioned paragraph, were not applied to these white officers alike, again displaying
the disparate treatment administered towards blacks as opposed to whites.

32. Contrary to paragraph 57 (page 16) of Defendant’s brief and declaration made by Mr.
Benton, the Defendant fails to mention the sworn testimony of Mr. Benton given during the
Personnel Board Hearing. At that point, Mr. Benton swore that he made up the gross
insubordination charge against me, and could not point out the specific section of the City of
Dothan Personnel rules and regulations. Mr. Benton also, under deposition in Captain Gray’s
case, admitted to terminating Captain Gray’s employment prior to the conclusion of the internal
affairs investigation. (Evidentiary Submission Exhibit B, May 23, 2013 Personnel Board hearing
transcript “2013 PB Hearing,”

33. In paragraphs 58-92 of the Defendant’s brief, it sets out the names of 35 alleged, or would-
be, comparators, all of whom were white except for David Thornton, the EEO officer. In
paragraph 93, the Defendant’s brief concludes that I am unable to provide relevant details about
how these alleged comparators were similarly situated to me. The fact is that all these other 34
officers were white males, except for Brandi Bowen and Rachel David, both of whom were
white females. What they all had in common was a white culture overwhelmingly Republican
and anti-Obama, whereas I was the opposite, Democratic and pro-Obama. Of course, despite
numerous efforts to be promoted to Sergeant, I never was so promoted during my fourteen years
at the Dothan police department. On the other hand, I witnessed numerous white counter-part
officers with less experience than me being promoted to sergeant, including in 2013.

34. Notwithstanding, some of these other officers had Facebook postings that were potentially
very controversial, but nothing was even done to them. One posting in particular involved Lt.
Will Benny, a white male. He had a Facebook posting about “I have inadvertently walked in
on a white trash rally, Sorry to bother you folks, I just need some milk” while at a local
Walmart. In a second Facebook posting Lt. Benny stated, “There are a lot of empty trailer
parks right now” while attending the Toadlick Music Festival, and even a third a third
controversial posting about Hispanics.

35. In addition, Dothan police officer Mike Woodside, a white male, posted a very ugly picture
of President Obama on January 15, 2013, calling him a two-faced liar and hypocrite. Yet,
nothing was ever done to Mr. Woodside about this.

36. There was also Captain David Jay, a white male, who posted on Facebook a picture and
statement that he wished George W. Bush was still president. He also had a posting of a sign with
a statement clearly directed toward African- Americans, saying “The government is not your
baby’s daddy”. Yet nothing was ever done by the Dothan Police Department to Captain Jay
about this racially-inflammatory posting.

37. Likewise, police chief Greg Benton had multiple Facebook postings from Glen Wood,
one sharing a photo from The Tea Party about President Obama “ignoring our system of
government,” and a link via I will NOT vote for Obama in 2012, which was also
controversial, and no action was taken against him.

38. Furthermore, a clear threat to my safety was suggested by a member on social media site,
Wiregrass Live (similar to Facebook), in which Chief Greg Benton and Major Steve Parrish were
also members. This was never investigated to protect my safety, or to identify the person making
the threat. No attempt was made to rally the support of other law enforcement officers. Instead,
a complaint originating on this same site was used as the basis for an investigation against me,
when I made no posts to this site. Major Parrish even contributed comment in response to the
threat.

39. The person used by the Dothan Police Department to criticize me for my Facebook posting
was Emily Hayes of Wiregrass Live (another social media site similar to Facebook). Ms. Hayes
is quoted at length in Defendant’s brief on pages 21-22. She is a member of white female Sgt.
Adrianne Woodruff’s motorcycle club. Ms. Hayes didn’t know me from anyone else. The only
way she could have gotten my Facebook information is through someone at the Dothan Police
Department passing it on to her.

40. Moreover, the person most offended by my Facebook post was Major Steve Parrish because
he did not agree with my reference to “slaves,” which goes against his personal beliefs in support
of slavery and the Confederate Battle Flag as presented in his many published writings, that
include, A History of the “Irwin Invincibles” the “Henry Light Infantry” posted on a public
website http://www.algw.org/henry/military/irwin_invincibles.htm. In paragraph 101 (page 25)
Major Parrish expressed what the Defendant’s brief refers to as the “concern from the
department” making this statement the day before the internal affairs investigation was
commenced against me for alleged social media policy violation, after he was advised that I was
entitled to my First Amendment right to freedom of speech, and that I would not be moved from
the positions I held. As acknowledged in Defendant’s brief, this conversation was recorded in its
entirety. However, the Defendant is picking and choosing particular points they wish the Court
to consider. Carney Exhibit.

 

41. In my Facebook post on the Dorner matter, | was primarily speaking to close friends like
Karla C. Mays, who has also issued an affidavit related to this matter. (See Exhibit E).

42. On the Facebook posting I did on the Dorner matter, I was simply trying to elevate the
consciousness level of others about the kind of problem that led to Dorner’s manifesto and break-
down. I truly believe that, if all law enforcement officers could be more sensitive about racial
and ethnic differences, then the kind of incidents, such as what happened with Mr. Dorner, would
be greatly minimized, if not eliminated altogether. The problem is that complaints made by
African-Americans to white superior officers often fall on “deaf ears.” This was part of what Mr.
Dorner encountered. It is also what I have encountered. That was the simple point I was trying
to make, along with pointing out the adverse consequences when that happens.

43. One unfortunate but related example came when I filed a complaint against a fellow white
Dothan police officer, a white male named Daniel Grantham, for using excessive force against a
handicapped black male whose arm would not bend far enough behind his back to be
handcuffed. Mr. Grantham, after white male officer Scott Smith could not affect the arrest, then
punched the disabled man in the top and back of the head. Mr. Grantham then lifted the black
male from the ground by his throat, and made a statement to the effect that this is the treatment
you get when you run from law enforcement. I thought it was unconscionable, such an excessive
use of force, and inconsistent with state laws and the rules and regulations of the City of Dothan.
This is why I filed the complaint. Yet, I was retaliated against for filing the complaint.

44. | regret that, in her Defendant’s brief, attorney Mays minimizes and twists out of context
much of what I said. I’m not surprised that Internal Affairs investigator Donnie Smith is also
twisting what I said, and/or embellishing the negative reaction of other Dothan police officers to
my Facebook posting.

45. I note, in page 26 of the Defendant’s brief, the term “racially-motivated” is used to describe
my Facebook posts. Yet, I didn’t call whites any bad names. It takes another person’s far-right
position on contemporary issues, and with that tilted philosophy influencing that person, to
believe that my Facebook posts as “racially-motivated.”

46. I note that Defendant’s brief cites two African- Americans, namely EEO Officer Darryl
Mathews, and Personnel Director Delvick McKay, as individuals who, respectively, conducted
and investigated, and found that I violated the Department’s social media policy. Yet, Mr.
Mathews got special kickbacks from the City of Dothan’s Mayor, a white male, namely Mike
Schmitz’s dealership for referring customers creating a conflict of interest. It was also a
violation of Personnel rules and regulations. Additionally, Mr. McKay earlier indicated his bias
against me, even before the investigation of my social media post, when I presented him with my
complaint naming several high ranking senior officials of the police department, all of whom
have been identified throughout this affidavit. Therefore, the findings of both individuals were
tainted with self-interest and unfair-mindedness, and should be jettisoned as unreliable.

47. I truly believe that the City of Dothan’s reason given for my termination, namely the
difficulties I was having with my then fiancé Kenneth Cloyd, and my alleged insubordination to
Lt. Scott Long, was a pretext to cover up a substantial and motivating factor for my termination,
namely my afore-mentioned social media comments. Additionally, an element of ingrained race
discrimination played a significant part in my termination, for reasons stated in my complaint,
and in this affidavit. Indeed, the race discrimination and denial of my 1st Amendment right to
free speech overlap. If my social media posting had reflected an anti-Obama statement, nothing
more would have ever been said, and no disciplinary actions against me would have occurred.
That is overwhelmingly obvious.

48. One reason I see the incident with my fiancé (Mr. Cloyd) as pretextual is that the entire
matter occurred while I was off-duty, and while protecting my own property. Also, there was no
truth or even an allegation that I committed any physical abuse or verbal threat against Mr.
Cloyd. Instead, it was Mr. Cloyd who admitted that, while | was in the driver’s seat of my police
car, he opened the car door, and reached in and grabbed me in my left upper arm bicep. However,
instead of saying the truth about what happened, the police officers who responded were blinded
by pre-existing ill will against me from the social media incident. And yet I had only recently
returned from serving a suspension from the social media matter at the time of incident in my
home driveway. Indeed, I was still serving a 2 year probation from the social media incident.

49. I also want to clarify that, contrary to the appearance of the photograph reflecting I parked
my police car in such a way as to intentionally block my fiancé’s car from exiting my driveway,
this was definitely not the case. Instead, 1 momentarily parked where | did because my fiancé’s
car was parked in the location on my driveway where I normally park my patrol car. My own
personal car was parked inside the garage, which could only contain one vehicle inside. If I had
parked next to my fiancé’s car on the driveway, I would have blocked myself from being able to
enter and exit my own personal car from the garage. It was also easy for Mr. Cloyd to exit over
the grass.

48. Meanwhile, my fiancé, who was not an owner or occupant of my home, and had not been
living there with me, had been dropped off at our church 2 miles away. Further, my fiancé and J
had agreed for him not to come back to my home, as we had just broken up over a disagreement.
I even told my fiancé that a wrecker company would remove his car. I called a wrecker company
to do just that.

49. Later on my fiancé and I patched up our differences. We did this within a couple of weeks
and a couple of months later, in February 2014, were married. We remain on good terms today,
although we are not currently living together.

50. Although multiple acts of race discrimination were acted against me by Defendant's, the
DUI murder case against white female, Tabitha Farmer, carries the strongest reminder of such
acts. In conjunction to this case, a wrongful death lawsuit was filed against Defendant’s by the
decedent Larry Downing’s wife Mary Downing. CPL Clark Rice (a white male), pictured with
the Confederate Battle flag, along with two other white male officers, namely CPL Tim Miller
and Officer Darren Pert, opposed my opinion to arrest Farmer for DUI and other charges and
released her resulting in Farmer striking and killing Downing approximately seven minutes after
her release from being detained. I was subjected to verbal harassment and witness intimidation
by the City of Dothan’s Attorney, white male, Freddie Lenton White and sought to have criminal
charges brought against White and then Police Chief John Powell, a white male. Defendant’s
protected the officers responsible for Downing’s death, and did nothing to protect me from
White, who has a long history of being racist towards African Americans.

51. As aresult of the wrongful termination, resulting from an exercise of my First Amendment
rights plus related racial discrimination, I have lost significant amounts of income, suffered great
mental anguish, and have had to go through the expense of hiring legal counsel to assist me in
this matter.

 

Before me, the undersigned Notary Public, appeared RaeMonica Carney Cloyd, known to me,
who, after being duly sworn, did state that the foregoing is true and correct, to the best of her
knowledge, information and belief, on this the 24th day of September 2015.

AY, Arle

Not&ry’Public : tard
| BBBMeDe Jon gguRe
nO Geo "gosgoge

 
 
